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                   UNITED STATES DISTRICT COURT
                    WESTERN DISTRICT OF TEXAS


Named Plaintiff’s Group                   Case No. 1-07-CA-962-SS

               Plaintiffs                 Hon. Judge Samuel Sparks

          v.
                                                 ORDER
Rissi L. Owens, et al.


               Defendants

      Plaintiffs filed a Motion for a Default Judgment, stating that

Defendants were obligated to answer or object to their Complaint by

February 15, 2008. Defendants have not answered or objected to this

complaint and they are now 32 days past due. Plaintiffs have filed an

Affidavit and a Memorandum in Support. Furthermore, the docket

corroborates Plaintiffs’ facts.

      Plaintiffs’ filed a subsequent motion seeking to amend the default

judgment by dropping the second and third claims and asking this Court to

issue a default judgment as to only the first claim submitted in          their

Complaint. For good cause, Plaintiffs state that the 2nd and 3rd claims are not

suitable for a default judgment.

      For good cause shown, the Court hereby finds that the requirements

for issuing a Default Judgment have been satisfied. The Court further
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concurs with Plaintiff and finds that a default judgment should only issue for

the first claim filed. Since no monetary damages have been sought, the Court

hereby orders a hearing on _________, ___, 2008 pursuant to Fed.R.Civ.P.

55(b), whereby Plaintiffs are ordered to appear and establish the truth of the

allegations in the first claim in their complaint. After said hearing, the Court

will set out the terms of this Default Judgment.

         IT IS SO ORDERED.



                                              _______________
                                              Judge


Proposed Order submitted
By Plaintiffs Counsel

/s/ Norman L. Sirak
